                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION



GODO KAISHA IP BRIDGE 1,

               Plaintiff,                           Case No. 2:16-cv-134-JRG-RSP

       v.

BROADCOM LIMITED, BROADCOM
CORPORATION, AVAGO TECHNOLOGIES,
LTD., AVAGO TECHNOLOGIES U.S., INC.,
and LSI CORPORATION,
               Defendants.


                     JOINT MOTION TO DISMISS ALL CLAIMS AND
                         COUNTERCLAIMS WITH PREJUDICE

       Plaintiff Godo Kaisha IP Bridge 1 (“IP Bridge”) and Defendants Broadcom Limited,

Broadcom Corporation, Avago Technologies, Ltd., Avago Technologies U.S., Inc., and LSI

Corporation (collectively “Broadcom”), by and through their counsel of record, and pursuant to

the terms of the parties’ executed Settlement Agreement, jointly move this Court to dismiss with

prejudice all claims and counterclaims in the above-captioned matter, with each party to bear its

own costs, expenses, and attorneys’ fees.



Dated: June 30, 2017



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3
                                CERTIFICATE OF SERVICE

       I certify that counsel of record are being served on June 30, 2017, with a copy of this

document electronically via the CM/ECF system. Any counsel who has not consented to

electronic service will be served via First Class U.S. Mail on this same date.

                                                 /s/ Melissa R. Smith
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